Pete V. Domenici U.S. Courthouse                                                Case No.: 17−12356−t11
333 Lomas Blvd. NW, 5th Floor                                                   Chapter: 11
Albuquerque, NM 87102
505−415−7999/866−291−6805                                                       Judge: David T. Thuma
www.nmb.uscourts.gov                                                            Judge/341 Location: TA

                                     UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW MEXICO

In re Debtor(s):

LAS UVAS VALLEY DAIRIES
a New Mexico General Partnership
 dba Las Uvas Valley Dairy
HCR Box 400
Hatch, NM 87937
Tax ID No: 85−0456952



                                        NOTICE VACATING HEARING



Notice is hereby given that the Confirmation Hearing set for 5/16/18 at 09:00 before the Honorable David T.
Thuma has been vacated.

(Document number, referenced docket text, and filer as shown below):

 268 − Scheduling Order (RE: related document(s)142 Motion to Dismiss Case filed by Creditor Farm Credit of NM,
                                                 FLCA). (crl)




                                                         BY ORDER OF THE COURT
                                                         Lana Merewether
                                                         Clerk of Court




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